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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

ROXANNE KING and STACEY GRADY *
Individually and as Next *
Friend of MICHELLE A. *
ALYSA A. and CHRISTIAN*
G- ,

Plaintiffs,
VS. CIVIL ACTION NUMBER:
2:17-CV-00112-RSB-BWC
PARKER MARCY, DAVID HASSLER,
HERSHELL GARRETT WRIGHT, D.J.
WALKER, DAVID HANEY, ROBERT
COREY SASSER, RONNIE COOPER,

BUTLER, JEREMY STAGNER,
TIMOTHY HOLLINGSWORTH,
CAMERON ARNOLD, RICHARD LESKA,
CLAYTON PALMER, CHRIS LOWTHER,
AND RESDEN TALBERT,

* » *=e» * *x-* * *x-* * » *

Defendants.
BLALNIIFES' MQTION FOR CLARIFICATION QF OBQER

COME NOW the Plaintiffs, who seek clarification of the Order
of Judge R. Stan Baker dated February 19, 2019 (Document 68). In
the Order, the Court directed the Plaintiff to file a "Plaintiffs'
Amended Complaint” that was to set forth verbatim paragraphs 1 - 10
of the original Complaint and paragraph 11 of the Supplemental
Complaint, except the Plaintiffs were ordered to include the full
names of the Defendants mentioned in paragraph ll of the Amended
Complaint.

An Answer in this case was filed by Eric Butler, who has
been deposed. Eric Butler testified that he had nothing to do with
the events which are the subject of this action, and the Plaintiffs
stated in their response to the Motion for Summary Judgment that
the record appeared to justify dismissal of Eric Butler. However,

the Court has directed the Plaintiffs to serve Defendant Butler.

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Another Officer Butler was involved in the subject incident, but he
has never been named or served. In view of the Court's admonitions
that the Plaintiffs should not make any additions, modifications or
other amendments other than those explicitly ordered in the Court's
Order, the Plaintiffs need clarification as to whether the Court
intends for the Plaintiffs to name Eric Butler in the Amended
Complaint or whether the Court is directing the Plaintiffs to name
the correct Glynn County police officer with the "Butler" surname.
Wherefore, the Plaintiffs respectfully seek clarification of
this point. The Plaintiffs' Amended Complaint seeking to comply
with the directive from the Court has been filed with the Court.

Respectfully submitted on this the 26th day of February, 2019.

H_._llcmglas_&dams

Georgia Bar Number: 004650
Attorney for Plaintiffs

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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
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ROXANNE KING and STACEY GRADY *

Individually and as Next *
Friend of MICHELLE A. *
ALYSA A. and CHRISTIAN*
G. , *
*
Plaintiffs, *
VS. * CIVIL ACTION NUMBER:
* 2:17-CV-00112-LGW-RSB
PARKER MARCY, DAVID HASSLER, *
HERSHELL GARRETT WRIGHT, D.J. *
WALKER, DAVID HANEY, ROBERT *
COREY SASSER, RONNIE COOPER, *
BUTLER, JEREMY STAGNER, *
TIMOTHY HOLLINGSWORTH, *

CAMERON ARNOLD, RICHARD LESKA,*
CLAYTON PALMER, CHRIS LOWTHER,*
AND RESDEN TALBERT, *

CERTIFICATE QF §EBVICE
This is to certify that I have this day served all

parties in this case in accordance with the directives
from the Court Notice of Electronic Filing (”NEF"), which
was generated as a result of electronic filing.

Submitted this the 26th day of February, 2019.

[s[W. Dguglas Adam§
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